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                                                                      U.S. DISTRICT COURT
                                                                          N.D. OF ALABAMA


                 UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF ALABAMA
                      SOUTHERN DIVISION

BOBBY SINGLETON, et al.,             )
    Plaintiffs,                      )
                                     )
v.                                   ) Case No.: 2:21-cv-1291-AMM
                                     )
WES ALLEN, in his official capacity ) THREE-JUDGE COURT
as Secretary of State of Alabama, et )
al.,                                 )
      Defendants.                    )


EVAN MILLIGAN, et al.,               )
    Plaintiffs,                      )
                                     )
v.                                   ) Case No.: 2:21-cv-1530-AMM
                                     )
WES ALLEN, in his official capacity ) THREE-JUDGE COURT
as Secretary of State of Alabama, et )
al.,                                 )
      Defendants.                    )



MARCUS CASTER, et al.,               )
   Plaintiffs,                       )
                                     )
v.                                   )
                                     ) Case No.: 2:21-cv-1536-AMM
WES ALLEN, in his official capacity )
as Secretary of State of Alabama, et )
al.,                                 )
      Defendants.                    )


STATEMENT OF INTEREST OF THE UNITED STATES OF AMERICA
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                     INTEREST OF THE UNITED STATES

      The United States respectfully submits this Statement of Interest pursuant to

28 U.S.C. § 517, which authorizes the Attorney General “to attend to the interests

of the United States in a suit pending in a court of the United States.” This case

presents important questions about the application of Section 2 of the Voting

Rights Act, 52 U.S.C. § 10301 (“the Act”), which Congress has explicitly vested

the Attorney General with authority to enforce. See id. § 10308(d). Accordingly,

this Statement of Interest addresses the availability of a private right of action to

enforce Section 2. It expresses no views on any other issue in this case.

                                  INTRODUCTION

      State Defendants again challenge the plaintiffs’ right to sue under Section 2.

This Court has previously (and correctly) rejected a similar challenge, noting any

finding to the contrary “would work a major upheaval in the law” and should

adhere to that ruling. Caster v. Merrill, No. 2:21-cv-01536, 2022 WL 264819, at

*81 (N.D. Ala. Jan. 24, 2022), aff’d sub nom. Allen v. Milligan, 599 U.S. 1 (2023);

Singleton v. Merrill, 582 F. Supp. 3d 924, 1032 (N.D. Ala. 2022), aff’d sub nom.

Allen, 599 U.S. 1. Alternatively, the plaintiffs may bring their Section 2 challenges

under 42 U.S.C. § 1983, the omnibus private right of action that Congress created

to redress violations of federal rights.




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                                  BACKGROUND

      Plaintiffs originally challenged the 2021 congressional redistricting map

passed by the Alabama Legislature. Allen v. Milligan, 599 U.S. 1, 16 (2023).

After this Court enjoined that map and the Supreme Court affirmed that decision,

id. at 42, the legislature passed a new map in 2023. See Ala. Act No. 2023-563

(SB 5); Motion to Dismiss at 3, Caster v. Allen, No. 2:21-cv-01536, ECF 273

(“Caster MTD”). Plaintiffs subsequently filed amended complaints challenging

that map under Section 2, among other challenges. See First Amended Complaint

¶¶ 123–29, Caster v. Allen, No. 2:21-cv-01536, ECF 271; First Amended

Complaint, ¶¶ 190–205, Milligan v. Allen, No. 2:21-cv-01530, ECF 329; Second

Amended Complaint, ¶¶ 80–83, Singleton v. Allen, No. 2:21-cv-01291, ECF 229.

      Section 2 imposes a “permanent, nationwide ban on racial discrimination in

voting.” Shelby Cnty. v. Holder, 570 U.S. 529, 557 (2013). Section 2(a) provides:

“No voting qualification or prerequisite to voting or standard, practice, or

procedure shall be imposed or applied by any State or political subdivision in a

manner which results in a denial or abridgement of the right of any citizen of the

United States to vote on account of race or color . . . .” 52 U.S.C. § 10301(a). A

violation of Section 2 may be “established if, based on the totality of

circumstances, it is shown that the political processes leading to nomination or

election in the State or political subdivision are not equally open to participation by


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members of a [protected class] in that its members have less opportunity than other

members of the electorate to participate in the political process and to elect

representatives of their choice.” Id. § 10301(b).

                                    ARGUMENT

      State Defendants revisit their argument that plaintiffs are barred from

challenging the state’s congressional districts under Section 2. Holding that

Section 2 is not privately enforceable would significantly undercut enforcement of

this landmark statute, which was designed to protect a right that is “preservative of

all rights.” Cf. Harper v. Virginia Bd. of Elections, 383 U.S. 663, 667 (1966)

(quoting Yick Wo v. Hopkins, 118 U.S. 356, 370 (1886)).

      The Supreme Court has twice acknowledged the Attorney General’s limited

resources and the need for private enforcement of the Voting Rights Act when

finding an implied private right of action to enforce Sections 5 and 10. Allen v.

State Bd. of Elections, 393 U.S. 544, 556–57 (1969); Morse v. Republican Party,

517 U.S. 186, 231 (1996) (plurality opinion). The Court also found it “significant”

that the United States submitted briefs in support of a private right of action as to

those Sections. Allen, 393 U.S. at 557 n.23; Morse, 517 U.S. at 231 (noting that

Allen “attached significance” to the United States’ brief and that the United States

had submitted a brief urging the same result in the instant case).




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      Time and experience have confirmed that the Court’s observations extend to

the enforcement of Section 2. Since 1982, private plaintiffs have brought over an

estimated 350 Section 2 cases. See, e.g., Ellen D. Katz et al., To Participate and

Elect: Section 2 of the Voting Rights Act at 40, Univ. Mich. L. Sch. Voting Rights

Initiative (2022), https://voting.law.umich.edu. Over that same period, the United

States has brought 44 cases. Cases Raising Claims Under Section 2 Of The Voting

Rights Act, Voting Section Litigation, U.S. Dep’t of Justice (Feb. 29, 2024),

https://www.justice.gov/crt/voting-section-litigation#sec2cases

[https://perma.cc/V5XK-Z7L8].

      The United States urges this Court to reaffirm its prior finding that Section 2

is privately enforceable. Nothing has changed since this Court found just two

years ago “that precedent strongly suggests that Section Two provides a private

right of action.” Singleton, 582 F. Supp. 3d at 1031–32, aff’d sub nom. Allen, 599

U.S.1 (not discussing the private right of action question).

      With near unanimity, courts have held that Section 2 can be enforced by

private plaintiffs. The State Defendants, however, now draw on the arguments of

one, outlying, non-binding precedent in the Eighth Circuit to revive their

arguments. See Caster MTD at 15–19, 21–25 (citing Ark. State Conf. NAACP v.

Ark. Bd. Of Apportionment, 86 F. 4th 1204 (8th Cir. 2023)); Defendants’ Motion to

Dismiss at 6, 10-13, Milligan v. Allen, 2:21-cv-01530, ECF 331 (“Milligan


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MTD”); Defendant’s Corrected Motion to Dismiss at 17, Singleton v. Allen, 2:21-

cv-01291, ECF 233 (“Singleton MTD”). The Eighth Circuit’s decision is an

outlier whose reasoning has not been adopted by other courts. See, e.g., Robinson

v. Ardoin, 86 F.4th 574, 587–88 (5th Cir. 2023) (holding that private plaintiffs

have a private right of action under Section 2 of the Voting Rights Act); Alpha Phi

Alpha Fraternity, Inc. v. Raffensperger, 587 F. Supp. 3d 1222, 1243 n.10 (N.D.

Ga. 2022) (finding that the district court decision in Arkansas State Conf. NAACP

did not change its previous holding that Section 2 has a private right of action);

Coca v. City of Dodge City, 669 F. Supp. 3d 1131, 1138 (D. Kan. 2023) (motion to

certify appeal denied, 2023 WL 3948472, at *2–3 (D. Kan. Jun. 12, 2023));

Georgia State Conf. of NAACP v. Georgia, 2022 WL 18780945, at *3–7 (N.D. Ga.

Sept. 26, 2022) (three-judge court).

      The structure of the Act, Supreme Court precedent, and congressional

ratification make clear that Section 2 can be enforced by private plaintiffs. The

rights-creating language in Section 2 reflects congressional intent to create a

private right of action. Even if one were to conclude—against the weight of

authority—that Section 2 contains no private right of action, the statute still would

be enforceable through 42 U.S.C. § 1983. See Gonzaga Univ. v. Doe, 536 U.S.

273, 284 (2002); Health & Hosp. Corp v. Talevski, 599 U.S. 166, 183 (2023).




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      I.     The text of the Voting Rights Act, reinforced by Supreme Court
             precedent, establishes a private right of action to enforce Section 2.
      The United States Supreme Court has twice confronted the question of

whether certain sections of the Act contain implied rights of action. Each time, the

Court has responded in the affirmative. In Allen v. State Board. of Elections, the

Court found a private right of action to enforce Section 5 of the Act, 52 U.S.C.

§ 10304(a), which required covered jurisdictions to obtain preclearance before

subjecting any “person” to a new voting qualification or procedure. 393 U.S. at

556–57.

      Decades later, in Morse v. Republican Party of Virginia, 517 U.S. 186

(1996), the Court found an implied private right of action to enforce Section 10, 52

U.S.C. § 10306(a), which prohibits jurisdictions from conditioning the right to vote

on payment of a poll tax. 517 U.S. at 232–34. The Supreme Court stated that,

although Section 2 “provides no right to sue on its face, ‘the existence of the

private right of action under Section 2 . . . has been clearly intended by Congress

since 1965.’” Id. at 232 (plurality opinion) (alteration in original) (quoting S. Rep.

No. 417, 97th Cong., 2d Sess. 27-28 (1982) (“1982 Senate Report”)); accord id. at

240 (opinion of Breyer, J., concurring in the judgment). The Court recognized the

presence of a private right of action in these cases because “[t]he achievement of

the [Act’s] laudable goal could be severely hampered, however, if each citizen




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were required to depend solely on litigation instituted at the discretion of the

Attorney General.” Allen, 393 U.S. at 556; see also Morse, 517 U.S. at 231.

       In addition, Morse’s conclusion that private plaintiffs can enforce Section 10

flows directly from the Supreme Court’s recognition that Congress intended the

same for Section 2. The Morse Court held that private plaintiffs must be able to

enforce Section 10 because “[i]t would be anomalous, to say the least, to hold that

both § 2 and § 5 are enforceable by private action but § 10 is not, when all lack the

same express authorizing language.” 517 U.S. at 232; accord id. at 240 (Breyer, J.,

concurring) (stating that Allen’s rationale “applies with similar force not only to

§ 2 but also to § 10”). Because private plaintiffs’ ability to enforce Section 2 was

foundational to Morse’s holding, it would be illogical to conclude that Section 2—

unlike Sections 5 and 10—lacks a private right of action. See Stone v. Allen, No.

2:21-cv-1531, 2024 WL 578578, at *6–7 (N.D. Ala. Feb. 13, 2024) (“Further, ‘[a]

ruling that Section Two does not provide a private right of action would badly

undermine the rationale offered by the Court in Morse.’”). Over the last 25 years,

a vast body of lower court decisions have held that Section 2 can be enforced by

private plaintiffs. 1


1
  See, e.g., Mixon v. Ohio, 193 F.3d 389, 406 & n.12 (6th Cir. 1999) (“An
individual may bring a private cause of action under Section 2 of the [Act].”);
League of United Latin Am. Citizens v. Abbott, 2021 WL 5762035, at *1 (W.D.
Tex. Dec. 3, 2021) (three-judge court) (denying a motion to dismiss arguing that


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      State Defendants argue that Morse is “gravely wounded,” but as their own

citation to Jefferson County. v. Acker suggests, it is for the Supreme Court to

overrule its own precedents. Milligan MTD at 13 (quoting Jefferson Cnty. v.

Acker, 210 F.3d 1317 (11th Cir. 2000)). Until it does so, those precedents are

binding on lower courts. See Jefferson, 210 F.3d at 1320. This Court should

refuse the invitation to adopt the Eighth Circuit’s anomalous decision in Arkansas

State Conference NAACP v. Arkansas Board of Apportionment. Compare e.g.,

Robinson v. Ardoin, 86 F.4th at 587 (quoting Morse for the proposition that a

plurality of the Supreme Court said that a private right of action under Section 2

has been clearly intended by Congress); Stone, 2024 WL 578578, at *7; with Ark.

State Conf. NAACP v. Ark. Bd. of Apportionment, 86 F.4th at 1215–16.




Section 2 lacks a private right of action); Georgia State Conf. of NAACP v.
Georgia, 269 F. Supp. 3d 1266, 1275 (N.D. Ga. 2017) (three-judge court)
(“Section 2 contains an implied private right of action.” (citing Morse, 517 U.S. at
232)); Veasey v. Perry, 29 F. Supp. 3d 896, 906 (S.D. Tex. 2014) (“individual
voter[s]” and organizations have the “power to enforce” Section 2); Perry-Bey v.
City of Norfolk, 678 F. Supp. 2d 348, 362 (E.D. Va. 2009) (“The [Act] creates a
private cause of action.”). Although Justice Gorsuch suggested that “[l]ower
courts have treated this as an open question,” his concurring opinion relied solely
on a case that predated both the 1982 amendments to Section 2 and Morse and
“[a]ssum[ed] without deciding” that Section 2 is privately enforceable. Brnovich v.
Democratic Nat’l Comm., 141 S. Ct. 2321, 2350 (2021) (Gorsuch, J., concurring)
(citing Washington v. Finlay, 664 F.2d 913, 926 (4th Cir. 1981)); see p. 9, infra
(describing Congress’s confirmation of a private right of action in 1982).


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      Congress has ratified the consensus view that Section 2 is privately

enforceable. “Congress is presumed to be aware of an administrative or judicial

interpretation of a statute and to adopt that interpretation when it re-enacts a statute

without change.” Lorillard v. Pons, 434 U.S. 575, 580 (1978); cf. Tex. Dep’t of

Hous. & Cmty. Affs. v. Inclusive Cmtys. Project, Inc., 576 U.S. 519, 536 (2015)

(concluding that Congress had “ratified the unanimous holdings of the Courts of

Appeals” that plaintiffs can bring disparate impact claims under the Fair Housing

Act because it was “aware of [the] unanimous precedent” and “made a considered

judgment to retain the relevant statutory text”). Each time Congress has

reevaluated and, where appropriate, amended the Act, it never questioned that

Section 2 is privately enforceable. See Pub. L. No. 91-285, 84 Stat. 14 (1970);

Pub. L. No. 94-73, 89 Stat. 400 (1975); Pub. L. No. 97-205, 96 Stat. 131 (1982);

Pub. L. No. 109-246, 120 Stat. 577 (2006). In fact, Congress has cited Allen

approvingly. See, e.g., S. Rep. No. 295, 94th Cong., 1st Sess. 16 (1975); H.R. Rep.

No. 196, 94th Cong., 1st Sess. 9 (1975); H.R. Rep. No. 397, 91st Cong., 1st Sess.

4, 8 (1969). Moreover, in the 1982 Senate Report that the Supreme Court called

the “authoritative source for legislative intent” behind amended Section 2,

Thornburg v. Gingles, 478 U.S. 30, 43 n.7 (1986), Congress “reiterate[d] the

existence of the private right of action under section 2.” 1982 Senate Report 30.




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      II.    Alternatively, Private Litigants Can Enforce Section 2 through 42
             U.S.C. § 1983.
      Alternatively, private plaintiffs can enforce Section 2’s voting protections

through Section 1983. Section 1983 provides a general remedy for private

plaintiffs to redress violations of federal rights committed by state actors. Maine v.

Thiboutot, 448 U.S. 1, 4 (1980) (“the plain language” of Section 1983

“undoubtedly embraces” suits by private plaintiffs to enforce federal statutory

rights); see also Livadas v. Bradshaw, 512 U.S. 107, 133 (1994) (recognizing that

“[Section] 1983 remains a generally and presumptively available remedy for

claimed violations of federal law”) (citing Dennis v. Higgins, 498 U.S. 439, 443

(1991)). A federal statute is “presumptively enforceable” under Section 1983 if it

“unambiguously confer[s]” individual federal rights. Gonzaga Univ. v. Doe, 536

U.S. 273, 283–84 (2002). That standard is met if the statute in question “is

‘phrased in terms of the persons benefited’ and contains ‘rights-creating,’

individual-centric language with an ‘unmistakable focus on the benefited class.’”

Talevski, 599 U.S. at 183 (2023) (quoting Gonzaga, 536 U.S. at 284, 287). Section

2 meets these standards and so is enforceable via Section 1983.

      A. Section 2 is a rights-creating statute.
   Section 2 unquestionably is a rights-creating statute. It is the cornerstone

provision of the Act. See Shelby Cnty., 570 U.S. at 536–37 (discussing history and

scope of Section 2 and acknowledging how “[b]oth the Federal Government and


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individuals have sued to enforce § 2”). Section 2 protects “the right of any citizen .

. . to vote on account of race or color.” 52 U.S.C. § 10301(a) (emphasis added);

see also 52 U.S.C. § 10303(f)(2) (extending rights to language minority groups).

“It is difficult to imagine more explicit or clear rights creating language. It cannot

be seriously questioned that Section 2 confers a right on a particular class of

people.” Turtle Mountain Band of Chippewa Indians v. Jaeger, 2022 WL

2528256, at *5–6 (D.N.D. July 7, 2022) appeal filed, Turtle Mountain Band of

Chippewa Indians v. Howe, No. 23-3655 (8th Cir. 2023); see also Georgia State

Conf. NAACP v. Georgia, 2022 WL 18780945, at *4 (N.D. Ga. Sept. 26, 2022)

(three-judge court) (“If that is not rights-creating language, we are not sure what

is.”); Talevski, 599 U.S. at 183 (finding that statute “framing” relevant section in

terms of rights to be “indicative of an individual ‘rights-creating’ focus” (quoting

Gonzaga, 536 U.S., at 284)).

      What Section 2’s text makes clear, other provisions confirm. Section 12

authorizes the Attorney General to initiate criminal proceedings against those who

“deprive . . . any person of any right secured by” Section 2. 52 U.S.C. § 10308(a)

(emphasis added); see also id. §10308(c) (same with regard to those who

“interfere[] with any right secured by” Section 2 (emphasis added)). That

language would make little sense if Section 2 did not create individual rights.




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      Lending further credence to this straightforward analysis, the Eleventh

Circuit and other courts have found the Materiality Provision of the Civil Rights

Act, 52 U.S.C. § 10101(a)(2)(B), presumptively enforceable under Section 1983

based on language strikingly similar to Section 2. Vote.org v. Paxton, 89 F.4th

459, 473–75 (5th Cir. 2023); Migliori v. Cohen, 36 F.4th 153, 159 (3d Cir. 2022),

cert. granted, judgment vacated on mootness grounds, 143 S. Ct. 297 (2022);

Schwier v. Cox, 340 F.3d 1284, 1296–97 (11th Cir. 2003); see also 52 U.S.C.

§ 10101(a)(2)(B) (“No person acting under color of law shall . . . deny the right of

any individual to vote in any election because of an error or omission on any

record or paper record or paper relating to . . . voting, if such error or omission is

not material in determining whether such individual is qualified under State law to

vote in such election.” 2) There is no reason to treat Section 2 differently; it also is

presumptively enforceable under Section 1983.

      The State Defendants acknowledge that Congress added the results test in

the 1982 amendments to the Act, such that a violation of Section 2 is no longer “a

fortiori a violation of the Constitution.” Milligan MTD at 9 (quoting Reno v.

Bossier Par. Sch. Bd., 520 U.S. 471, 482 (1997)). Yet they still argue that Section



2
  The only circuit-level authority going the other way on the Materiality Provision
provides little, if any, analysis and did not specifically consider whether the
Provision is enforceable under Section 1983. McKay v. Thompson, 226 F.3d 752,
756 (6th Cir. 2000).

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2 does not create any new rights, but merely repeats the very same protection

secured by the Fifteenth Amendment. The State Defendants conflate rights and

remedies, by placing all the rights found under Section 2 into the box of

“prophylactic remedies.” See Milligan MTD at 9–10. But Section 2 “grants”

individual citizens “a right to be free from” discriminatory voting practices.

Chisom v. Roemer, 501 U.S. 380, 392 (1991) (quoting H.R. Rep. No. 439, 89th

Cong., 1st Sess. 23 (1965)). In addition, the State Defendants’ argument that

somehow the combination of Section 2 and Section 12 creates a new right, but

Section 2 on its own does not, see Milligan MTD at 9, defies logic and the

statutory text.

       But even if Congress, contrary to fact, did no more in Section 2 than codify

the Fifteenth Amendment, it still would have created a new individual statutory

right. Section 2 is presumptively privately enforceable through Section 1983.

       B. Congress did not “shut the door to private enforcement” of Section 2.

       Defendants can rebut the presumption that a federal right is enforceable

through Section 1983 only by “demonstrat[ing] that Congress shut the door to

private enforcement either [1] expressly, through specific evidence from the statute

itself” or “[2] impliedly, by creating a comprehensive enforcement scheme that is

incompatible with individual enforcement under § 1983.” Gonzaga, 536 U.S. at




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284 n.4 (citations omitted) (internal quotation marks omitted). The State

Defendants cannot make that demonstration here.

      First, Congress did not “shut the door to private enforcement” of Section 2,

id., because “there is certainly no specific exclusion of private actions” in the Act.

Allen, 393 U.S. at 555 n.18; cf. Schwier, 340 F.3d at 1297 (holding that the

Materiality Provision of the Civil Rights Act of 1964, 52 U.S.C. § 10101, is

enforceable by private plaintiffs through Section 1983).

      Nor does the Act provide for “a more restrictive private remedy,” City of

Rancho Palos Verdes, Cal. v. Abrams, 544 U.S. 113, 121 (2005), than Section

1983. While the Act grants the United States the authority to enforce Section 2,

these public remedies do not constitute “a comprehensive enforcement scheme”

and are perfectly “[]compatible with individual enforcement under § 1983.”

Gonzaga, 536 U.S. at 284 n.4 (citation omitted) (internal quotation marks omitted);

Turtle Mountain, 2022 WL 2528256, at *6 (“[P]rivate enforcement actions have

co-existed with collective enforcement brought by the United States for decades.”).

That is particularly true post-Shelby County, now that challenges to voting-related

enactments and changes always must be brought through affirmative litigation

(rather than placing the obligation on jurisdictions subject to preclearance to show

that such changes are not intentionally discriminatory and do not have a

retrogressive effect). See Shelby Cnty., 570 U.S. at 544, 557. Indeed, even before


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Shelby County, Section 2 lawsuits were brought overwhelmingly by private

plaintiffs. See supra 3-4. Absent “a private judicial right of action, a private

federal administrative remedy, or any carefu[l] congressional tailor[ing] that

§ 1983 actions would distort,” the existence of an additional, public remedy does

not displace Section 1983. Talevski, 599 U.S. at 190 (alterations in original)

(emphasis added) (citation omitted) (internal quotation marks omitted).

      Any reliance on arguments about Section 3 and Section 12 is also

unpersuasive. Relying on the Eighth Circuit’s decision in Arkansas NAACP, the

State Defendants argue that the “aggrieved person” text in Section 3 refers to

statutes that pre-date the Act. See Caster MTD at 21. But this argument does not

consider the text and statutory history of the Act. Section 3 reflects Congress’s

understanding that private plaintiffs can enforce the Act’s substantive provisions,

including Section 2: it provides specific remedies to “the Attorney General or an

aggrieved person” in lawsuits brought “under any statute to enforce the voting

guarantees of the fourteenth or fifteenth amendment.” 52 U.S.C. § 10302

(emphasis added). Congress added the term “aggrieved person” to each of

Section 3’s remedies in 1975, Pub. L. No. 94-73, § 401, 89 Stat. 404, knowing that

Allen had recently construed the Act to permit private suits to enforce Section 5.

393 U.S. at 556–57; see also S. Rep. No. 295, 94th Cong., 1st Sess. 40 (1975)

(1975 Senate Report) (stating that an “aggrieved person” includes “an individual or


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an organization representing the interests of injured persons”). Even in the State

Defendants’ reading of Section 3, Section 1983, which predates the Act, must be

among the existing private rights of action to which Section 3’s “aggrieved person”

language refers.

      Nor does Section 12’s detailed framework for public enforcement of the Act

defeat the presumption of private enforcement under Section 1983. 52 U.S.C.

§ 10308. As Talevski put it, a “single-minded focus on comprehensiveness” of a

statutory enforcement scheme “mistakes the shadow for the substance.” 599 U.S.

at 188. Courts have found that the Materiality Provision’s similar public-

enforcement framework does not preclude private enforcement of that provision

under Section 1983. Vote.org, 89 F.4th at 476; Migliori, 36 F.4th at 160–62;

Schwier, 340 F.3d at 1296. So too regarding the public remedies in Section 12.

There is good reason for the Act to set forth an express public right of action:

although private plaintiffs can invoke Section 1983 to vindicate their statutory

rights, the United States cannot sue under that statute. Congress therefore needed

to add “the specific references to the Attorney General . . . to give the Attorney

General power to bring suit to enforce what might otherwise be viewed as ‘private’

rights.” Allen, 393 U.S. at 555 n.18.3


3
 Likewise, Sections 12(f) and 3 of the Act confirm that Section 2 is privately
enforceable under Section 1983 by granting Voting Rights Act-specific remedies


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                                 CONCLUSION

      This Court should reaffirm its previous ruling that private litigants may sue

under Section 2 of the Voting Rights Act and should deny the State Defendants’

motions to dismiss on those grounds. Alternatively, private plaintiffs have the

authority to bring these actions under 42 U.S.C. § 1983.



Dated: March 14, 2024


PRIM F. ESCALONA                           KRISTEN CLARKE
United States Attorney                     Assistant Attorney General
                                           Civil Rights Division

/s/ Jason R. Cheek                         /s/ Sejal Jhaveri
JASON R. CHEEK                             R. TAMAR HAGLER
Assistant United States Attorney           ROBERT S. BERMAN
Northern District of Alabama               MICHELLE RUPP
United States Department of Justice        SEJAL JHAVERI
1801 Fourth Avenue North                   Attorneys, Voting Section
Birmingham, AL 35203                       Civil Rights Division
(205) 244-2104                             United States Department of Justice
jason.cheek@usdoj.gov                      950 Pennsylvania Avenue NW
                                           Washington, DC 20530
                                           (800) 253-3931
                                           tamar.hagler@usdoj.gov
                                           robert.berman@usdoj.gov
                                           michelle.rupp@usdoj.gov
                                           sejal.jhaveri@usdoj.gov


and attorney’s fees where private plaintiffs establish Section 2 liability. At a
minimum, they weigh heavily against any determination that private enforcement
of Section 2 through Section 1983 is incompatible with public enforcement of the
statute. Indeed, the two have complemented each other for nearly sixty years.

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                          CERTIFICATE OF SERVICE

       I hereby certify that, on March 14, 2024, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system and caused to be served by
email a copy of this filing to counsel of record.

                                              /s/ Sejal Jhaveri
                                              SEJAL JHAVERI
                                              Trial Attorney
                                              Civil Rights Division
                                              United States Department of Justice
                                              950 Pennsylvania Avenue NW
                                              Washington, DC 20530
                                              (202) 532-5610
                                              sejal.jhaveri@usdoj.gov
